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                IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


 LORENZO BYRD, on behalf of TOMMY
 L. BYRD, an incompetent adult,
          Plaintiff
                                                      NO. 1:20-CV-03090-LMM
 vs.
 UNITED STATES OF AMERICA,
          Defendant




          PLAINTIFFS’ REPLY TO THE GOVERNMENT’S
              RESPONSE TO PLAINTIFF’S MOTION TO
                           APPOINT GUARDIAN

       Rule 17(c)(2) allows the Court to appoint a guardian “or issue other ap-

propriate order” to protect to protect a person who does not have a “duly ap-

pointed representative.” Rule 17(a)(3) prevents the Court from dismissing an

action without first allowing the real party in interest to “ratify, join, or be

substituted into the action.” The Government’s response asks the Court to re-

write both rules and create new requirements under the Federal Tort Claims

Act (FTCA).



                               JURISDICTION

       In its response, the Government argues that Mr. Byrd did not properly

present his administrative claim under the FTCA. Then, the Government ar-

gues that Mr. Byrd is not a party to this lawsuit. Dkt. No. 28, at 11–12. On

both counts—both legally and factually—the Government gets it wrong.




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 1.     The FTCA administrative presentation requires minimal
        notice.

      For the FTCA, the claimant needs only to present (1) a written statement

sufficiently describing the injury so the agency may begin its own investiga-

tion, and (2) a sum-certain damages claim. Free v. United States, 885 F.2d

840, 842 (11th Cir. 1989). In fact, “an FTCA notice of claim need not be filed

by a party with the legal authority or capacity under state law.… State-law

authority or capacity to represent beneficiaries is not required.” Pleasant v.

United States, 764 F.3d 445, 451(5th Cir. 2014) (holding).

      Multiple cases from multiple circuits reject the Government’s heightened

presentation requirements. For example, the question presented in Avila was

whether the “administrative filing in the name of an adult incompetent by his

father and signed by the father for the son” adequately exhausts administra-

tive remedies where “no conservator has been appointed for the incompetent”

nor is there written authorization of the father to act on behalf of the son.

Avila v. INS, 731 F.2d 616, 619 (9th Cir. 1984). The circuit court held that

the father properly presented the son’s claim given the “minimal require-

ments” of presentation. Id.; see also Conn v. United States, 867 F.2d 916, 919

(6th Cir. 1989) (claim properly presented even though claimant “did not sat-

isfy the regulation requiring documentation of the authority of the person fil-

ing on his behalf.”); Campbell v. United States, 534 F. Supp. 762, 764–65 (D.

Hawai’i 1982) (husband properly presented his disabled wife’s claims when

he was not appointed guardian ad litem until after the lawsuit was filed).

      Next, in Free v. United States, the Government argued that Georgia law

required the claim “must be brought by a[n appointed] representative of the

deceased’s estate.” 885 F.2d 840, 842 (11th Cir. 1989). Because Mr. Free’s


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siblings were not appointed until after the statute of limitations run, the Gov-

ernment argued that they had not properly presented the claim. Id. at 841–

42. The Eleventh Circuit rejected this argument because Mr. Free’s siblings

“gave sufficient notice to allow [the agency] to investigate the claim” and the

claim “stated a sum certain for recovery.” Id. at 842–43; see also Tansco Leas-

ing Corp. v. United States, 896 F.2d 1435, 1442 (5th Cir. 1990) (holding that a

bank’s submission of a FTCA wrongful-death claim on behalf of widow and

daughter met the minimal notice requirements); Byrne v. United States, 804

F. Supp. 577, 582 (S.D.N.Y. 1992) (Even though plaintiff was not appointed

personal representative of the decedent, his claim still satisfied the “minimal

notice” requirements for jurisdiction.).

     Or take Bryant v. United States: there, the court found that an attorney

sending a letter identifying only the existence of “three brothers” was suffi-

cient to present the sibling’s consortium claims. 147 F. Supp. 2d 953, 961 (D.

Ariz. 2000); see also Young v. United States, 372 F. Supp. 736, 741–42 (S.D.

Ga. 1974) (claim filed for children by a purported guardian without proof of

legal capacity or authority does not deny the district court of jurisdiction). 1
Finally, the Court may rely on numerous analogous cases in which attorneys

file claims without proof of representation. E.g., Warren v. United States, 724

F.2d 776, 777 (9th Cir. 1984).



1   Like Young, there are a line of cases where courts examine prejudice to the Gov-
    ernment in this situation. Here, there is no prejudice to the Government. First,
    changing the caption of this lawsuit does not alter the substantive allegations in
    any way. Second, since the outset of the lawsuit, the Complaint has identified
    both Mr. Lorenzo Byrd and Mr. Tommy Byrd as parties. Complaint, Dkt. No. 1,
    at 1 ¶ 1.1 (Aug. 24, 2020). Third, even the Government, in its most recent round
    of discovery, identifies the Plaintiff as Mr. Tommy Byrd. Exh. 1, Excerpts from
    Government’s Discovery Requests (Dec. 23, 2020).

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 2.     Mr. Byrd fulfilled all administrative conditions precedent.

      Tommy Byrd’s claim sufficiently identified him and gave notice such that

the Government could begin its investigation. As proof “Mr. [Tommy] Byrd

did not file a claim in his own name,” the Government attaches only six pages

of Mr. Byrd’s 211-page administrative claim. Dkt. No. 28, at 2; Dkt. No. 28-1

(Gov’t exhibit). There, the box that the Government cites on the Standard

Form 95 asks for the “Name, address of claimant and claimant’s personal

representative.” Dkt. No. 28-1, at 1 (emphasis added). So, naturally, both Mr.

Lorenzo and Tommy Byrd’s names should appear in that box. But to be clear,

“neither a Form 95 or any other particular form is required.” Williams v.

United States, 693 F.2d 555, 557 (5th Cir. 1982) (cleaned up).

      Nevertheless, to reach the result the Government wishes, the Court

needs to ignore the rest of the 211-page administrative claim. For example,

even the pages that the Government does attach states, “This claim concerns

the substandard medical care delivered to Tommy Lorenzo Byrd.” Dkt. No.

28-1, at 3. And they state that Tommy Byrd seeks recovery of his damages.

Id. at 6. Moreover, the first page of the claim, the cover letter, clearly present

the claims of both father and son. Exh. 2, Presentation Letter, NTL-4565

(Aug. 17, 2017). The other 200 pages are excerpts from Tommy Byrd’s medi-

cal records and other supporting documentation.

      Finally, the Government’s conduct also shows appropriate presentation.

For example, in accepting presentation of the claim, the Government

acknowledges the “Administrative Tort Claim of Mr. Tommy L. Byrd.” Exh. 3,

Acknowledgement Letter, NTL-4783–84 (Sept. 13, 2017). And since this claim

was administratively adjudicated, parties knew that the claims of Mr.

Tommy Byrd were at issue. E.g., Exh. 4, Denial Letter, NTL-4787–88 (May


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14, 2020) (denying Mr. Tommy Byrd’s claim); see also Dkt. No. 1, at 4 ¶¶ 4.1–

4.2 (Complaint alleging the claims were properly presented); Dkt. No. 17, at 7

¶¶ 4.1-4.2 (Answer admitting allegations).


 3.     Mr. Byrd is a party to this lawsuit.

      Next, the Government argues Tommy Byrd is not a party to this lawsuit.

If the Government’s argument held water, then no court could ever appoint

a guardian under Rule 17(c)(2) because that rule has two conditions prece-

dent: (1) the incompetent person does not already have a duly appointed rep-

resentative and (2) the incompetent person is suing via a next friend. The

Government’s position would not explain the cases where a next friend brings

a suit on behalf of another and the court appoints a guardian or takes other

action. E.g., John v. Royal Caribbean Cruises, Ltd., 07-22766-CIV, 2008 WL

11407174, at *1 (S.D. Fla. June 11, 2008). The John case was styled like this

case and, there, the court allowed the Plaintiff to amend its complaint to

make next friend status clear. Id. at *3–4. The court even noted that, “this re-

sult is consistent with Rule 17’s express intent to avoid forfeiture of facially

sufficient claims. Indeed, under Rule 17(a)(3), I cannot dismiss an action

without first giving Ms. John an opportunity to amend and name the real

party in interest.” Id. at *3.

      The Government cites one lone case from Florida for the proposition that

Mr. Byrd is not a party. See Dkt. No. 28, at 11–12 (citing Williams v. Billy,

No. 18-23529-cv-SCOLA, 2019 WL 2516590, at *2 (S.D. Fla. June 3, 2019).

Yet, Williams does not mention the Government’s proposition. Instead, Wil-

liams dismissed the next friend solely because the next friend had no legal

counsel. Williams, 2019 WL 2516590, at *2 (“Even if Dawn Grasty could



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establish that she should be permitted to proceed as ‘next friend’ she is not be

permitted to proceed pro se.”); see also Gallo v. United States, 331 F. Supp. 2d

446, 448–49 (E.D. Va. 2004) (requiring pro-se guardian of child to retain

counsel to proceed). But even if Mr. Byrd is not a party to this lawsuit, Rule

17(a)(3) requires the Court to allow a reasonable time to “join or be substi-

tuted into the action.” After such “joinder or substitution, the action proceeds

as if it had been originally commenced by” Mr. Byrd. Fed. R. Civ. P. 17(a)(3). 2

     In sum, Mr. Byrd properly put the Government on notice of his claim and

is properly before the Court.



                                   CAPACITY

     Here, the Government incorrectly identifies the choice of law and creates

new requirements for Rule 17 found nowhere in the text or the cases. First,

Maryland law governs this issue. Second, Mr. Byrd meets the capacity test

under Maryland law. And third, whether Maryland law or Georgia law,

there’s no state-court adjudication condition precedent to Rule 17.




2   The Government cites Rule 15—and two cases interpreting Rule 15—and argues
    for a heightened relation-back standard. Dkt. No. 28, at 9 n.2. Neither Rule 15
    nor those cases apply because Rule 17 has its own relation back provision for this
    specific situation. Fed. R. Civ. P. 17(a)(3). Instead, Rule 17’s 1966 advisory com-
    mittee notes state that it is “intended to insure against forfeiture and injustice—
    in short, to codify in broad terms the salutary principle of Levinson v. Deupree,
    345 U.S. 648 (1953).” Levinson allowed relation-back where a party was not
    properly appointed administrator of the estate until after statute of limitations.
    Levinson, 345 U.S. at 649. In this case, an inadvertent miscommunication be-
    tween counsel and clients led to this situation. To hold for the Government would
    result in the exact forfeiture and injustice Rule 17 is intended to prevent.

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 1.     Choice of law under Rule 17.

      At the outset, Maryland—not Georgia—determines Mr. Tommy Byrd’s

capacity. That’s because “for an individual who is not acting in a representa-

tive capacity, the law of the individual’s domicile” determines capacity to sue.

Fed. R. Civ. P. 17(b)(1); Esposito v. United States, 368 F.3d 1271, 1273 (10th

Cir. 2004) (“Rule 17(b) provides that issues of capacity are determined by the

law of the individual’s domicile.”); Complaint, Dkt. No. 1, at 1 ¶ 1.2 (Mr.

Tommy Byrd resides in Maryland); Dkt. No. 26-2, at 1 ¶ 3 (same).

      Under Maryland Law, an individual “under disability to sue may sue by

a guardian or other like fiduciary or, if none, by next friend…” MD Rules,

Rule 3-202(d). In fact, under Maryland law, Mr. Byrd’s power of attorney au-

thorizes Lorenzo Byrd to “assert and maintain before a court … a claim [or]

cause of action [to] recover damages sustained by the principal.” Md. Code

Ann., Est. & Trusts § 17-202. With a power of attorney, no adjudicated guard-

ianship is necessary for an incompetent individual to bring a lawsuit.

      Beyond that, there’s no requirement of a probate proceeding declaring an

incompetent. For example, a Maryland District Court, applying the Rule

17(c) standard, noted that capacity required “some forms of mental deficiency

which may affect a person’s practical ability to manage his or her own affairs

that goes beyond ‘something other than mere foolishness or improvidence,

garden-variety or even egregious mendacity, or even various forms of the

more common personality disorders.’” Lanahan v. Patuxent Inst., No. JFM-

15-2511, 2017 WL 1592243, at *2 (D. Md. Apr. 28, 2017).

      Further, under Maryland law, a guardian shall be appointed if (1) “a per-

son lacks sufficient understanding or capacity to make or communicate re-

sponsible personal decisions,” and (2) “no less restrictive form of intervention

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is available that is consistent with the person’s welfare and safety.” Md. Code

Ann., Est. & Trusts § 13-705. 3 But Maryland law does not require a formal

finding or appointment of guardianship. For example, the appointment of a

guardian is not evidence of incompetency. Id. § 13-706(b)(1). And Maryland

law prioritizes the disabled person’s children to be appointed as their guardi-

ans. Id. § 13-707(a)(6).


    2.     Mr. Byrd meets the competency test under Maryland law.

         To be clear, this is not a case of diminished intellectual capacity. Instead,

Mr. Byrd “lacks sufficient … capacity to … communicate” quickly and effec-

tively as needed in a lawsuit. Md. Code Ann., Est. & Trusts § 13-705.

         To rebut Dr. Altman’s medical opinion, the Government offers a lone rec-

ord. First, this record is from the same institution that caused him the brain

injury in the first place. See Malmberg v. United States, 816 F.3d 185, 192 (2d

Cir. 2016) (Federal law disfavors forcing the veteran to “seek medical care

from the party whose negligence created his need for such care.”).

         More importantly, the Government neglected to include remainder of the

record. There, the VA provider notes that he couldn’t test Mr. Byrd because of

his brain injury. Exh. 5, NTL-1816. Specifically, Mr. Byrd had difficulty with

memory, understanding others, and expressing his own thoughts. Id. This

record concludes that Mr. Byrd has “Major neurocognitive disorder due

to vascular etiology [stroke].” Id. (emphasis added). The Government also


3    While Maryland law spells out the procedure for appointing a guardian, courts
     “reject the notion that in determining whether a person is competent … a federal
     judge must use the state’s procedures.” Thomas v. Humfield, 916 F.2d 1032, 1035
     (5th Cir. 1990). This is yet another reason federal courts need not wait until a
     person has been “adjudicated incompetent” before allowing suit.

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implies that because Mr. Byrd’s family cannot afford to forego employment to

supervise Mr. Byrd at all times, Mr. Byrd is competent. First, one of the rea-

sons for this lawsuit is medical and attendant care for Mr. Tommy Byrd. Sec-

ond, Dr. Altman reviewed all of Mr. Byrd’s medical chart, not just one page.

Dkt. No. 26-1, at 1 ¶ 3 (Jan. 25, 2021). And the entire record paints a com-

plete picture. For example, as of Nov. 2019, the VA concluded that Mr. Byrd’s

aphasia caused by stroke “affect[s] all language modalities with severely im-

paired comprehension.” Exh. 6, USAO_BYRD_000329.


 3.     The Government’s view of Rule 17 misses the mark.

      But whether under Maryland or Georgia law, the Government cannot

point to any law that requires a formal state-court adjudication of capacity

before a federal lawsuit. And any such law would directly conflict—and thus

is preempted—by Rule 17(c)(2)’s language that allows a person “who does not

have a duly appointed representative” to sue. Fundamentally, the Govern-

ment asks the Court to add the words “adjudicated by state law” into the text

of Rule 17. See Dkt. No. 28, at 6.

      What’s more, none of the Government’s cases support the proposition

that a state-court adjudication of competency is required. For example, the

Government cites Day v. RM Trucking, Inc. In that case, a court refused a de-

fendant’s request to order an examination of a stroke patient who was “gain-

fully employed, driving a car, and attempting to live his life.” No. 3:11–CV–

400–J–20MCR, 2012 WL 12905596, at *3 (M.D. Fla. 2012); but see contra

John v. Royal Caribbean Cruises, 07-22766-CIV, 2008 WL 11407174, at *1

(S.D. Fla. June 11, 2008) (denying motion to dismiss and allowing Plaintiff to

amend complaint). While these Government cases show that this Court may



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resolve this factual question of competency, they do not show that a state-

court adjudication is required. E.g., Sanders v. Kansas, 317 F. Supp. 2d 1233,

1239–40 (D. Kan. 2004) (because the plaintiff neither demonstrated incompe-

tence nor was previously adjudicated incompetent, the court notes the next

step is substitution of parties). The other cases that the Government cites

stand for the proposition that pro se plaintiffs cannot bring suit representing

another individual. E.g., Scarbrough v. Alabama, No. 13–00110–WS–N, 2013

WL 6094675, at *2 (S.D. Ala. Nov. 20, 2013) (dismissing without prejudice be-

cause “no attorney has appeared on behalf of this pro se plaintiff.”).

    The Government also argues that Rule 17(a)(3) applies only a reasonable

time after objection. Dkt. No. 28, at 12–13. While the brief recites “after ob-

jection” trigger to the “reasonable time” rule, it fails to note that the motion

was filed two days after the Government raised this issue. See Dkt. No. 28-2

(attesting that the objection was raised on Saturday, Jan. 23); Dkt. No. 26

(motion filed Monday, Jan. 25th). Rule 17(a) is designed to prevent forfei-

tures, and as such must be given broad application. Esposito v. United States,

368 F.3d 1271, 1278 (10th Cir. 2004) (reversing the district court’s failure to

substitute the real party in interest with relation back). Rule 17(a) requires

the court to provide “a reasonable time after objection to substitute the real

party in interest.” Id. at 1272 (emphasis added).



                               CONCLUSION

    Plaintiff respectfully requests the Court exercise the broad range of relief

offered by Rule 17. The Court may appoint Mr. Lorenzo Byrd as guardian ad

litem or may fashion other appropriate relief, such as amending the



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complaint. Fed. R. Civ. P. 17(c)(2). If the Court does not, however, the Court

should allow a reasonable time for Mr. Tommy Byrd to “ratify, join, or be sub-

stituted into the action.” Id. 17(a)(3).



                                           Respectfully Submitted,


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        CERTIFICATE OF SERVICE & COMPLIANCE

    By my signature below, I certify that this pleading was prepared using

Century Schoolbook at 13 point size. Further, I certify that a copy of this

pleading, Plaintiffs’ Reply to the Government’s Response to Plaintiff’s Motion

to Appoint Guardian, has been sent to the following on February 12, 2021 via

the Court’s CM/ECF notice system.



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